                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

UNITED STATES OF AMERICA                     )      MATTICE/CARTER
                                             )
       v.                                    )      CASE NO. 1:09-CR-183
                                             )
HENRY LEE GREEN, JR.                         )


                                           ORDER

       On March 9, 2010, Magistrate Judge William B. Mitchell Carter filed a Report and

Recommendation recommending (a) the Court accept Defendant’s plea of guilty to Count One of

the Indictment in exchange for the undertakings made by the government in the written plea

agreement; (b) the Court adjudicate Defendant guilty of the charges set forth in Count One of the

Indictment; (c) that a decision on whether to accept the plea agreement be deferred until

sentencing; and (d) Defendant shall remain in custody pending sentencing in this matter (Doc.

48). Neither party filed an objection within the given fourteen days. After reviewing the record,

the Court agrees with the magistrate judge’s report and recommendation. Accordingly, the Court

ACCEPTS and ADOPTS the magistrate judge’s report and recommendation pursuant to 28

U.S.C. § 636(b)(1) and ORDERS as follows:

       (1) Defendant’s plea of guilty to Count One of the Indictment, in exchange for the

undertakings made by the government in the written plea agreement, is ACCEPTED;

       (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

Indictment;

       (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

and




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       (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Monday,

June 7, 2010, at 9:00 am.

       SO ORDERED.

       ENTER:


                                                  /s/Harry S. Mattice, Jr.
                                                  HARRY S. MATTICE, JR.
                                             UNITED STATES DISTRICT JUDGE




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